       Case 2:14-cv-02910-MWF-MRW Document 22 Filed 05/22/14 Page 1 of 7 Page ID #:72


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               9 Attorneys for Defendants Deepak Chopra,
                 William F. Ballhaus, Jr., David Feinberg,
              10 Steven C. Good, Meyer Luskin, and Ajay
                 Mehra and Nominal Defendant OSI
              11 Systems, Inc.
              12
                                          UNITED STATES DISTRICT COURT
              13
                                        CENTRAL DISTRICT OF CALIFORNIA
              14
              15
                 MARC HAGAN, derivatively on                 Case No. 2:14-cv-02910 MWF (VBKx)
              16 behalf of OSI SYSTEMS, INC.,
                                                             STIPULATION TO STAY
              17                    Plaintiff,               PROCEEDINGS AND TO APPOINT
                                                             CO-LEAD COUNSEL
              18            v.
              19 DEEPAK CHOPRA, WILLIAM F.
                 BALLHAUS, JR., DAVID
              20 FEINBERG, STEVEN C. GOOD,
                 MEYER LUSKIN, and AJAY
              21 MEHRA,
              22                    Defendants,
              23                     - and -
              24 OSI SYSTEMS, INC., a Delaware
                 corporation,
              25
                           Nominal Defendant.
              26
              27
              28
                                                                      CASE NO. 2:14-CV-02910 MWF (VBKx)
ATTORNEYS AT LAW
  LOS AN GE LES
                                                                     STIPULATION TO STAY PROCEEDINGS
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                   1        Plaintiff Marc Hagan (“Plaintiff”); Defendants Deepak Chopra, William F.
                   2 Ballhaus, Jr., David Feinberg, Steven C. Good, Meyer Luskin, and Ajay Mehra
                   3 (the “Individual Defendants”); and Nominal Defendant OSI Systems, Inc. (“OSI”
                   4 or the “Company”), by and through their respective undersigned counsel, hereby
                   5 stipulate as follows.
                   6                                 STIPULATION
                   7        WHEREAS, on December 12, 2013, a putative securities class action,
                   8 captioned Roberti v. OSI Systems, Inc., et al., No. 13-cv-09174-MWF (VBKx) (the
                   9 “Securities Class Action”), was filed against OSI, Deepak Chopra and Alan Edrick
              10 (the “Class Action Defendants”) alleging violations of Sections 10(b) and 20(a) of
              11 the Securities Exchange Act of 1934 based on purportedly false and misleading
              12 statements made by OSI between January 2012 and December 2013 about its
              13 products and contracts with the Transportation Security Administration (“TSA”) of
              14 the U.S. Department of Homeland Security;
              15            WHEREAS, on April 2, 2014, the Court entered a scheduling order in the
              16 Securities Class Action providing that the Lead Plaintiff shall file its Amended
              17 Complaint no later than May 20, 2014; the Class Action Defendants shall file their
              18 motion(s) to dismiss the Amended Complaint no later than July 18, 2014; and the
              19 hearing on the motion(s) to dismiss shall be held on November 3, 2014.
              20            WHEREAS, on April 15, 2014, Plaintiff Marc Hagan filed the above-
              21 captioned shareholder derivative action (the “Hagan Derivative Action”), alleging
              22 claims on behalf of the Company against several of the same parties, and based on
              23 many of the same events and transactions that are the subject of the Securities
              24 Class Action, as set forth more fully in Plaintiff’s Notice of Related Case [Dkt. No.
              25 5];
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                                                                         CASE NO. 2:14-CV-02910 MWF (VBKx)
ATTORNEYS AT LAW
  LOS AN GE LES                                               2         STIPULATION TO STAY PROCEEDINGS
       Case 2:14-cv-02910-MWF-MRW Document 22 Filed 05/22/14 Page 3 of 7 Page ID #:74


                   1         WHEREAS, the parties agree that, in light of the substantial overlap
                   2 between the facts and issues in the Hagan Derivative Action and the Securities
                   3 Class Action, the resolution of the motion(s) to dismiss in the Securities Class
                   4 Action may impact the manner in which the Hagan Derivative Action is
                   5 prosecuted;
                   6         WHEREAS, Defendants further believe that simultaneously litigating the
                   7 Hagan Derivative Action and the Securities Class Action could lead to certain
                   8 inefficiencies and that judicial resources and the resources of the parties will be
                   9 better served in this case with the limited, agreed-to stay;
              10             WHEREAS, in light of the foregoing, and to avoid the unnecessary
              11 expenditure of judicial resources or effort by the parties and this Court prior to the
              12 resolution of the motion(s) to dismiss in the Securities Class Action, the parties to
              13 the Hagan Derivative Action mutually agree that all proceedings in this action,
              14 including motions practice and discovery, should be stayed until such time as
              15 Defendants’ forthcoming motion(s) to dismiss in the Securities Class Action are
              16 resolved;
              17             WHEREAS, the parties further agree that the Hagan Derivative Action
              18 should be designated the lead derivative action and should govern later-filed,
              19 related actions arising out of the same or substantially the same transactions or
              20 events as this case, which are filed in, removed to, or transferred to this Court.
              21             WHEREAS, to establish a leadership structure for Plaintiffs and ensure that
              22 agreements Defendants reach with plaintiffs are binding on plaintiffs in all related
              23 derivative actions, Co-Lead Counsel for plaintiffs for the conduct of this action and
              24 any subsequent consolidated actions shall be: Bottini & Bottini, Inc. and The
              25 Shuman Law Firm. Defendants take no position on the appointment of Plaintiffs’
              26 Co-Lead Counsel.
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                                                                              CASE NO. 2:14-CV-02910 MWF (VBKx)
ATTORNEYS AT LAW
  LOS AN GE LES                                                  3           STIPULATION TO STAY PROCEEDINGS
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                   1         WHEREAS, the parties agree that for efficiency and to avoid possible
                   2 duplication, plaintiffs Co-Lead Counsel shall have sole authority to speak for
                   3 plaintiffs in matters regarding pre-trial procedures, trial, settlement and make all
                   4 work assignments. No motion, request or other pre-trial or trial proceeding shall
                   5 be initiated or filed by any plaintiff except through plaintiffs’ Co-Lead Counsel.
                   6         WHEREAS, Defendants’ counsel may rely upon all agreements made with
                   7 either plaintiffs’ Co-Lead Counsel, or other duly authorized representative of
                   8 plaintiffs’ Co-Lead Counsel, and such agreements shall be binding on all plaintiffs.
                   9         NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by
              10 and among the parties, through their undersigned counsel of record, as follows:
              11             1.    All proceedings, discovery, and deadlines in the Hagan Derivative
              12                   Action (including deadlines for Defendants to respond to the
              13                   Complaint) shall be stayed pending the Court’s entry of a ruling on
              14                   the initial motion(s) to dismiss the Securities Class Action.
              15             2.    Counsel for the parties shall meet and confer concerning further
              16                   proceedings in the Hagan Derivative Action within ten (10) days of
              17                   the Court’s ruling on the first or initial motions(s) to dismiss the
              18                   Securities Class Action to discuss proposed next steps for this action.
              19             3.    If the Court declines to approve this requested stay of proceedings,
              20                   counsel for the parties shall meet and confer and, within ten (10) days,
              21                   shall submit a proposed scheduling order setting forth future dates for
              22                   Defendants to file their responsive pleadings and a proposed briefing
              23                   schedule.
              24             4.    This stay is without prejudice to the right of any party to either move
              25                   to lift the stay or seek a further stay of the Hagan Derivative Action,
              26                   or any other relief as may be appropriate and warranted.
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                                                                              CASE NO. 2:14-CV-02910 MWF (VBKx)
ATTORNEYS AT LAW
  LOS AN GE LES                                                   4          STIPULATION TO STAY PROCEEDINGS
       Case 2:14-cv-02910-MWF-MRW Document 22 Filed 05/22/14 Page 5 of 7 Page ID #:76


                   1       5.    Bottini & Bottini, Inc. and The Shuman Law Firm are designated as
                   2             Co-Lead Counsel for Plaintiff.
                   3       6.    This Order shall apply to each purported shareholder derivative action
                   4             that arises out of the same or substantially the same transactions or
                   5             events as the Hagan Derivative Action that is subsequently filed in,
                   6             removed to, or transferred to this Court.
                   7       7.    When a case that properly should be consolidated with the Hagan
                   8             Derivative Action is hereafter filed in this Court or transferred here
                   9             from another court, counsel shall promptly call to the attention of the
              10                 Clerk of the Court the filing or transfer of such case. All such related
              11                 derivative actions shall be consolidated with this action.
              12           8.    Every paper filed in the consolidated action shall bear the following
              13                 caption:
              14
                                             UNITED STATES DISTRICT COURT
              15
                                            CENTRAL DISTRICT OF CALIFORNIA
              16
              17 IN RE OSI SYSTEMS, INC.                    )
                                                                    Lead Case No. 2:14-cv-02910
                 DERIVATIVE LITIGATION                      )
              18                                            )
                                                            )       Derivative Action
              19 This Document Relates To:
                                                            )
              20                                            )
                                ALL ACTIONS                 )
              21
              22
                           9.    The files of the consolidated actions will be maintained in one file
              23
                                 under Lead Case No. 2:14-cv-02910.
              24
                       IT IS SO STIPULATED.
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                                                                              CASE NO. 2:14-CV-02910 MWF (VBKx)
ATTORNEYS AT LAW
  LOS AN GE LES                                                 5            STIPULATION TO STAY PROCEEDINGS
       Case 2:14-cv-02910-MWF-MRW Document 22 Filed 05/22/14 Page 6 of 7 Page ID #:77


                   1 Dated: May 22, 2014           LATHAM & WATKINS LLP
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                   3                               By:     /s/ Peter A. Wald
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                                                        Michele D. Johnson
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                                                        Costa Mesa, California 92626-1925
                   8                                    Tel: (714) 540-1235
                                                        Fax: (714) 755-8290
                   9
                                                   Attorneys for Individual Defendants &
              10                                   Nominal Defendant OSI Systems, Inc.
              11
              12 Dated: May 22, 2014               BOTTINI & BOTTINI, INC.
              13
              14                                   By:   /s/ Francis A. Bottini, Jr.
              15                                     Francis A. Bottini, Jr.
                                                     Yury A. Kolesnikov
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                                                   Attorneys for Plaintiff Marc Hagan
              19
              20 Dated: May 22, 2014               THE SHUMAN LAW FIRM
              21
              22
                                                   By: /s/ Kip B. Shuman
              23                                     Kip B. Shuman
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              28
                                                                CASE NO. 2:14-CV-02910 MWF (VBKx)
ATTORNEYS AT LAW
  LOS AN GE LES                                     6          STIPULATION TO STAY PROCEEDINGS
       Case 2:14-cv-02910-MWF-MRW Document 22 Filed 05/22/14 Page 7 of 7 Page ID #:78


                   1                                 Signature Attestation
                   2 I certify that I obtained concurrence in the filing of this document from all parties
                   3 whose electronic signatures appear above.
                   4
                   5 Dated: May 22, 2014                             By: /s/ Peter A. Wald
                                                                     Peter A. Wald
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                                                                             CASE NO. 2:14-CV-02910 MWF (VBKx)
ATTORNEYS AT LAW
  LOS AN GE LES                                                  7          STIPULATION TO STAY PROCEEDINGS
